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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Bernadette Williams, et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:22−cv−01422
                                                              Honorable Virginia M.
                                                              Kendall
State Farm Mutual Automobile Insurance
Company
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 6, 2024:


         MINUTE entry before the Honorable Keri L. Holleb Hotaling: Upon review of the
parties' submissions, the Court grants the parties' Joint Motion for Entry of ESI Protocol
Order [Dkt. 139] and enters a Court−edited order. Enter ESI Protocol Order.(rbf, )




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